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 7
                                 UNITED STATES DISTRICT COURT
 8                              CENTRAL DISTRICT OF CALIFORNIA
 9
      YONG KOO,                                       Case No.: 2:19-cv-09301-PA (AFMx)
10
                   Plaintiff,
11                                                    PLAINTIFF’S RESPONSE TO ORDER
            vs.
12                                                    TO SHOW CAUSE RE:
                                                      SUPPLEMENTAL JURISDICTION
13
      AKIO YAMASHITA D/B/A TOZAI
14
      FOODS MARKET; EDILBERTO
15    EVANGELISTA, TRUSTEE OF
16    EDILBERTO AND ELEANOR TRUST,
                   Defendants.
17
18
19
20          I.     THIS COURT SHOULD EXERCISE SUPPLEMENTAL
21                 JURISDICTION SINCE IT HAS ORIGINAL JURISDICTION OVER
22                 PLAINTIFF’S AMERICANS WITH DISABILITIES ACT CLAIM
23                 AND BECAUSE THE UNRUH CLAIM IS SO RELATED, THE
24                 CLAIM FORMS PART OF THE SAME CASE OR CONTROVERSY.
25          Under 28 U.S.C. § 1367 (“section 1367”), where a district court has original
26    jurisdiction over a claim, it also has supplemental jurisdiction over “all other claims that
27    are so related to claims in the action within such original jurisdiction that they form part
28    of the same case or controversy.” A state claim is part of the same “case or controversy”



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 1    as a federal claim when the two “derive from a common nucleus of operative fact and are
 2    such that a plaintiff would ordinarily be expected to try them in one judicial proceeding.”
 3    (Kuba v. 1-A Agr. Ass'n, 387 F.3d 850, 855-56 (9th Cir. 2004)).
 4          A.       This Court Has Original Jurisdiction.
 5          “The district courts shall have original jurisdiction of all civil actions arising under
 6    the… laws… of the United States.” Here, Plaintiff has filed suit under the Americans
 7    with Disabilities Act4, a federal statute. Accordingly, the Court has original jurisdiction,
 8    as the case is a civil action arising under United States law.
 9          B.       The State Claim Is so Related It Forms Part of the Same Case or
10          Controversy.
11          Citing Cal. Civ. Code section 51 subsection (f), “The Unruh Act provides that a
12    violation of the ADA is a violation of the Unruh Act,” Plaintiff claims a violation of the
13    Unruh Act based solely on the ADA violations alleged in the Complaint. [ECF No. 1].
14          Thus, the ADA and Unruh Acts are inextricably intertwined. A violation of the
15    ADA is a per se violation of Unruh. The incident that forms the basis of both claims is
16    identical. The Parties are identical. The witnesses are identical. All the documentary
17    evidence (photographs, measurements, bank records, policies, etc.) are identical. All the
18    case law, regulatory material, regulations, and accessibility standards necessary to
19    demonstrate liability under both claims are identical. Plaintiff’s counsel is not aware of a
20    federal and state claim more intertwined than the ADA/Unruh pair.
21          Given the per se nature of the Unruh claim and that Plaintiff has only pled Unruh
22    as being violated per se by the ADA violation, the claims form part of the same case or
23    controversy.
24          II.      THE UNRUH CLAIM DOESN’T RAISE A NOVEL OR
25                   COMPLEX ISSUE OF STATE LAW, DOES NOT PREDOMINATE
26                   OVER THE ADA CLAIM, AND THERE ARE NO EXCEPTIONAL
27                   CIRCUMSTANCES OR COMPELLING REASONS FOR NOT
28                   GRANTING JURISDICTION.



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 1          The exercise of supplemental jurisdiction is mandatory, unless prohibited by
 2    section 1367(b) or one of the exceptions set forth in section 1367(c) applies. Under
 3    section 1367(c), a court may decline to exercise supplemental jurisdiction where: “(1) the
 4    claim raises a novel or complex issue of State law, (2) the claim substantially
 5    predominates over the claim or claims over which the district court has original
 6    jurisdiction, (3) the district court has dismissed all claims over which it has original
 7    jurisdiction, or (4) in exceptional circumstances, there are other compelling reasons for
 8    declining jurisdiction.”
 9          A.     The State Claim Doesn’t Raise a Novel and/or Complex Issue of
10                 State Law.
11          Though some courts previously found inclusion of an Unruh Act violation in an
12    ADA suit to present novel or complex legal issues best left to state courts, most of these
13    cases centered on whether Unruh requires proof of intentional discrimination, a now
14    resolved question. (See, for example, Harris v. Capital Growth Investors XIV, 52 Cal.3d
15    1142 (1991) and Gunther v. Lin, 144 Cal.App.4th 223 (2006), both overruled by Munson
16    v. Del Taco, Inc., 46 Cal.4th 661 (2009)). There have been a slew of other arguments
17    raised on this topic but all of them have been resolved or rejected by courts. To borrow
18    the phrasing of one court, most examples “are either irrelevant or erroneous.” (Moore v.
19    Dollar Tree Stores Inc., 85 F. Supp. 3d 1176, 1193 (E.D. Cal. 2015) (rejecting the
20    argument that an Unruh claim over a barrier raises a novel or complex issue of state
21    court)). The bottom line is that “courts routinely exercise jurisdiction over supplemental
22    claims under [Unruh], as these types of claims do not generally raise novel or complex
23    issues of state law.” (Kohler v. Islands Restaurants, LP, 956 F. Supp. 2d 1170, 1175 (S.D.
24    Cal. 2013) (collecting cases, including a Ninth Circuit case)).
25          B.     The State Claim Doesn’t Substantially Predominate Over the ADA
26          Cause of Action.
27          As stated above, the incident that forms the basis of both claims is identical. The
28    parties are identical. The witnesses are identical. All the documentary evidence



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 1    (photographs, measurements, bank records, policies, etc.) are identical. All the case law,
 2    regulatory material, regulations, and accessibility standards necessary to demonstrate
 3    liability under both claims are identical. Proving up the ADA claim is the same work and
 4    same effort as proving up the Unruh claim. As one court summarized:
 5
 6          The state-law claims do not substantially predominate in terms of proof.
 7          Indeed, because the claims are mostly based on ADA violations, the proof
 8          for those claims is identical to that needed to prove violation of the ADA.
 9          For the state-law claims, Plaintiff need only make an additional showing of
10          the particular “occasions” on which he encountered the barriers or was
11          deterred from visiting the restaurant because of the barriers in order to make
12          out his claims for statutory damages. To be sure, the availability of damages
13          under state law means that the state-law claims present a slightly larger
14          scope of issues and offer more comprehensive remedies. Nonetheless, the
15          Court does not find that this causes the state-law claims to substantially
16          predominate this litigation.
17    (Kohler v. Rednap, Inc., 794 F. Supp. 2d 1091, 1096 (C.D. Cal. 2011)).
18          Moreover, the mere fact that the Unruh claim has an additional remedy does not
19    mean that it “substantially predominates” over the case. “Other than the availability of
20    statutory damages under state law, the state and federal claims are identical. The burdens
21    of proof and standards of liability are the same. Indeed, the Unruh Act specifically
22    provides that a violation under the ADA also constitutes a violation of the Unruh Act.”
23    (Moore, 85 F.Supp.3d at 1194 (finding that an Unruh claim for statutory damages does
24    not substantially predominate over the federal ADA claim); see also Schoors v. Seaport
25    Village Operating Co., LLC, 2017 WL 1807954, (S.D. Cal. May 5, 2017)).
26          It is hard to reach a different conclusion on this topic. “Plaintiff's state and federal
27    law claim involve the identical nucleus of operative facts, and require a very similar, if
28    not identical, showing in order to succeed.” (Delgado v. Orchard Supply Hardware Corp.,



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 1    826 F. Supp. 2d 1208, 1221 (E.D. Cal. 2011) (finding no substantial predominance). This
 2    court should not decline supplemental jurisdiction on the basis that the Unruh claim for a
 3    statutory penalty substantially predominates. It simply does not. Encountering an ADA
 4    barrier is not only the standard for an ADA violation but is also the standard for recovery
 5    of statutory damages. “The litigant need not prove she suffered actual damages to recover
 6    the independent statutory damages of $4,000.” (Molski v. M.J. Cable, Inc., 481 F.3d 724,
 7    731 (9th Cir. 2007). In this case, specifically, Plaintiff only alleges 2 visits and
 8    deterrence, based on the knowledge of the inaccessible facilities, totaling $8,000 in
 9    statutory penalties.
10          C.     Supreme Court Has Repeatedly Stated that the Most Important
11          Considerations are Factors of Economy, Convenience, Fairness, and Comity.
12          These Factors Point Towards Supplemental Jurisdiction Being Exercised.
13          More importantly, even substantial predominance is found, the Court is required to
14    take the next step and consider the impact of declining or exercising supplemental
15    jurisdiction: the “justification” underlying the decision whether to maintain supplemental
16    jurisdiction or dismiss claims, “lies in considerations of judicial economy, convenience
17    and fairness to litigants…” (United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 726
18    (1966)). In fact, the Courts have recognized that judicial economy is the “essential policy
19    behind the modern doctrine of pendent jurisdiction…” (Graf v. Elgin, J. & E. Ry., 790
20    F.2d 1341, 1347–48 (7th Cir.1986)). As the Supreme Court noted: the “commonsense
21    policy of pendent jurisdiction” is “the conservation of judicial energy and the avoidance
22    of multiplicity of litigation.” (Rosado v. Wyman, 397 U.S. 397, 405 (1970)).
23          Here, if this Court were to decline to exercise supplemental jurisdiction over the
24    state claim, it would result in the plaintiff pursuing the Unruh claim in state court while,
25    simultaneously, prosecuting his ADA claim in federal court. Given that the plaintiff’s
26    state claim is predicated upon a finding that the ADA has been violated, this means that
27    almost identical cases would be prosecuted in two different forums. The Delgado court
28    reasoned:



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 1          Here, the claims arise from a common nucleus of operative facts. Both the
 2          federal and state law claims are based upon architectural barriers which
 3          infringe upon the accessibility to the OSH Store. Accordingly, this Court has
 4          supplemental jurisdiction over the state law claims. The Court will exercise
 5          supplemental jurisdiction over the state law claims. Here, the state issues are
 6          not unsettled or novel and complex. Plaintiff's state and federal law claim
 7          involve the identical nucleus of operative facts, and require a very similar, if
 8          not identical, showing in order to succeed. If this court forced plaintiff to
 9          pursue his state law claims in state court, the result would be two highly
10          duplicative trials, constituting an unnecessary expenditure of plaintiff's,
11          defendant's, and the two courts' resources. As a practical matter, plaintiff's
12          state law claims for damages may be the driving force behind this action. To
13          rule as OSH proposes, however, would effectively preclude a district court
14          from ever asserting supplemental jurisdiction over a state law claim under
15          the Unruh Act.
16    Delgado, 826 F. Supp. at 1221.
17          The Kohler case presents a lengthy analysis of the issue and concluded that
18    fairness favored keeping the Unruh claim in federal court “rather than in a separate, and
19    largely redundant, state-court suit.” (Kohler, 794 F. Supp. 2d at 1096). Another framing
20    of the analysis states that supplemental jurisdiction should be exercised to avoid “two
21    parallel proceedings, one in federal court and one in the state system.” (Borough of W.
22    Mifflin v. Lancaster, 45 F.3d 780, 787 (3d Cir. 1995). Here, the principles of judicial
23    economy and fairness militates toward keeping Unruh.
24          In fact, in Gibbs, the Court noted that even in circumstances where the federal
25    claim has been lost, the Court may want to maintain supplemental jurisdiction where the
26    state claim is so closely intertwined with the federal claims: “There may, on the other
27    hand, be situations in which the state claim is so closely tied to questions of federal
28




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 1    policy that the argument for exercise of pendent jurisdiction is particularly strong.”
 2    (Gibbs, 383 U.S. at 727.).
 3          Further, filing in state court would cause a “high frequent litigant,” as discussed
 4    later, such as Plaintiff to incur an unreasonable amount of financial burden in the amount
 5    of $1,000. Such financial burden would prohibit Plaintiff from enforcing his right to
 6    bring a substantial claim against individuals and entities who have injured Plaintiff in his
 7    right provided by ADA and applicable state statutes. Also, defendants take ADA cases
 8    filed in federal courts a lot more seriously in terms of resolving any and all issues,
 9    especially for remediating the violations that have injured Plaintiff because of the
10    existence of statutory minimum of $4,000 per violation as well as award of attorneys’
11    fees if successful on the merits. Without such financial incentive, defendants would not
12    focus on swiftly remediating any and all ADA barriers at issue and would rather drag the
13    litigation to trial, wasting time and resources for all parties and the Court.
14          Although some courts have declined supplemental jurisdiction under a “substantial
15    predominance” standard, those decisions are scattered and cannot withstand serious
16    scrutiny. But, more importantly, those other decisions never address the factors that the
17    Supreme Court have said are essential, namely economy, convenience, fairness, and
18    comity. As the Moore court stated, those decisions, “failed to address how declining
19    jurisdiction served these the values of economy, convenience, fairness, and comity.”
20    (Moore, 85 F.Supp.3d at 1194.). It is hard to argue with the Moore court’s conclusion
21    that: “the Court's exercise of supplemental jurisdiction would best advance economy,
22    convenience, fairness, and comity. The state and federal claims are so intertwined that it
23    makes little sense to decline supplemental jurisdiction. To do so would create the danger
24    of multiple suits, courts rushing to judgment, increased litigation costs, and wasted
25    judicial resources.” (Id.).
26          This is not just a calendar clearing exercise that the court is considering. Were the
27    Court to deny federal jurisdiction to Plaintiff’s state claims, Plaintiff would have to
28    litigate these claims in parallel in state court, or abandon the right to file well-pleaded and



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 1    meritorious claims in federal court entirely. Plaintiff’s state claim is predicated on
 2    adjudication of the federal claim, over which this Court has original jurisdiction. This
 3    puts Plaintiff’s claims in a complicated position, as the state court claim cannot
 4    reasonably be resolved without final resolution of the federal case, or risk inconsistent
 5    decisions on identical facts.
 6          D.     There Are No Exceptional Circumstances for Declining Jurisdiction.
 7          Five central district judges have issued more than 110 OSCs on this topic. While
 8    most have not identified any specific rationale in their orders identifying exceptional
 9    circumstances or compelling reasons for declining jurisdiction, some courts have been
10    more expansive in their OSCs and cited heavily to California state law procedures and
11    noted that plaintiffs seem to be forum shopping to avoid state court requirements. But a
12    litigant choosing from two proper jurisdictions is not inappropriate forum shopping, is
13    not “exceptional,” and does not provide a compelling reason to decline to exercise
14    supplemental jurisdiction. As one court explained:
15
16          [T]he fact that Plaintiff is “forum shopping” by filing suit in this Court rather
17          than state court does not constitute a “compelling reason” for declining
18          jurisdiction. There is no reason why Plaintiff should have to file his claims
19          in state court instead. “This sort of forum-shopping is commonplace among
20          plaintiffs and removing defendants alike and is not an ‘exceptional’
21          circumstance giving rise to compelling reasons for declining jurisdiction, as
22          required by section 1367(c)(4).” Chavez, 2005 WL 3477848, at *2. The fact
23          that Plaintiff and his counsel frequently file suits asserting disability rights
24          violations does not change this conclusion. The Ninth Circuit has
25          acknowledged that “[f]or the ADA to yield its promise of equal access for
26          the disabled, it may indeed be necessary and desirable for committed
27          individuals to bring serial litigation advancing the time when public
28          accommodations will be compliant with the ADA.” Molski v. Evergreen



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 1          Dynasty Corp., 500 F.3d 1047, 1062 (9th Cir.2007). Nothing bars Plaintiff
 2          from frequently invoking a federal forum to remedy ADA violations.
 3    (Kohler, 794 F.Supp.2d at 1096; see also Schoors v. Seaport Village Operating Co., LLC,
 4    2017 WL 1807954, *5 (S.D. Cal. May 5, 2017) (adopting the same rationale)).
 5          III.    UNRUH CLAIM DOESN’T RAISE A NOVEL OR COMPLEX
 6                  ISSUE OF STATE LAW, DOESN’T PREDOMINATE OVER
 7                  THE ADA CLAIM, AND THERE ARE NO EXCEPTIONAL
 8                  CIRCUMSTANCES FOR DECLINING JURISDICTION.
 9          California’s “high-frequency litigant” statutes do not give reason under the §
10    1367(c) exceptions to decline supplemental jurisdiction. “High-frequency litigants” are
11    defined by section 425.55 of the California Code of Civil Procedure as “A plaintiff who
12    has filed 10 or more complaints alleging a construction-related accessibility violation
13    within the 12-month period immediately preceding the filing of the current complaint
14    alleging a construction-related accessibility violation” (Cal. Civ. Proc. Code §
15    425.55(b)(1)) or “An attorney who has represented… 10 or more high-frequency litigant
16    plaintiffs in actions that were resolved within the 12-month period immediately preceding
17    the filing of the current complaint…” (Cal. Civ. Proc. Code § 425.55(b)(2)).
18    Undoubtedly, many of plaintiff’s counsel’s clients fall within this definition, although
19    plaintiff’s counsel himself does not (as explained in the attached declaration).
20          However, this means little to the prosecution of a case. There are only three
21    consequences in state court litigation for a plaintiff being identified as a high-frequency
22    litigant. First, such plaintiffs must add some specific facts in their complaint and verify
23    the complaint certifying that it comports with… the exact language of Fed. R. Civ. Proc.
24    11. (Cal. Civ. Proc. Code § 425.50(a)(4)). But those “facts” are either required under
25    Federal Rule 26’s initial disclosure requirement or readily available in discovery.
26    Additionally, plaintiff’s counsel is already subject to Rule 11 in federal court. Second,
27    there is an additional $1,000 filing fee (Cal. Gov. Code § 70616.5), which is divided into
28    the general fund and the trial court trust fund (Cal. Gov. Code § 68085.35). This fee



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 1    serves to relieve workload to the trial courts. (2015 CA A.B. 1521 (NS) (September 10,
 2    2015). Ironically, though, the workload of the trial courts would be massively increased if
 3    this Court were to decline supplemental jurisdiction. Finally, there are stay and early
 4    evaluation procedures in state court for these cases. But those same procedures—almost
 5    identical in nature—are available in the Central District with the ADA Disability Access
 6    Litigation program and use of ADR Form 20. A defendant can request and a court can
 7    sua sponte order the parties to participate in this process.
 8          In any event, there is nothing unique in the state court procedures that are not
 9    replicated in some fashion in the federal system. It is not the federal court’s task to decide
10    that it likes state court procedures better and to force a plaintiff to take his case to state
11    court because of that preference. That is not a compelling reason.
12          IV.     CONCLUSION
13          The plaintiff respectfully requests this Court to continue to exercise supplemental
14    jurisdiction over the Unruh Civil Rights Act claim. Dismissing the state claim would
15    result in a refiling of the state claim in state court, with additional filing fees not only for
16    plaintiff but also for the defendants (each of which would have to file a first appearance
17    fee) and if the case did not settle: discovery in both forums, case management and
18    scheduling conference appearances in both forums, dispositive and other motions in both
19    forums, mandatory settlement conferences in both forums, and trial in both forums – all
20    of which involve the same parties, witnesses, factual claims, property, evidence, and
21    presentation. This would offend the notions of fairness, judicial economy, and
22    convenience that are the cornerstone of the analysis about supplemental jurisdiction.
23
24     DATED: November 13, 2019                       SO. CAL EQUAL ACCESS GROUP
25
26                                                          /s/ Jason J. Kim
27                                                    JASON J. KIM
                                                      Attorney for Plaintiff
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